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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
                  v.                                  :        Case No. 21-cr-398-BAH
                                                      :
JAMES MCGREW,                                         :
                                                      :
                           Defendant.                 :


                  ASSENTED-TO MOTION TO SEAL MEDICAL RECORDS

         The United States requests permission to file the defendant James McGrew’s medical

records from his hospital stay in April 2021 under seal. As grounds for the request, the

government states that on October 26, 2021 at 9:09 am, the defendant’s Mississippi probation

officer, Allison Long, emailed the government and informed the government that she had

previously received the defendant’s medical records from his hospital stay in April 2021 and

had mistakenly said otherwise in a prior email. Ms. Long then provided a copy of the records.1

        As the medical records contain confidential information about the defendant, there is an

overriding interest in keeping the information confidential that outweighs the need for public

disclosure. The defendant assents to the filing of the medical records under seal.


                                                      Sincerely,

                                                      CHANNING D. PHILLIPS
                                                      Acting United States Attorney

                                                      By:    /s/ Lucy Sun__
                                                      Lucy Sun
                                                      Assistant United States Attorney

1
  Following the email, the government called Ms. Long and verified that the rest of her prior email remained true,
that the defendant did not have permission to be at various locations described in Exhibit A of the Government’s
Opposition to the defendant’s Motion for Bond. Ms. Long confirm that the rest of the email was true.
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